106 F.3d 390
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.George Reynold EVANS, Sr., Plaintiff-Appellant,v.David GODWIN, Defendant-Appellee.
    No. 96-2565.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 23, 1997.Decided Jan. 31, 1997.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Wilmington.  James C. Fox, Chief District Judge.  (CA-96-138-7-F)
      George Reynold Evans, Sr., Appellant Pro Se.
      Before RUSSELL, WILKINS, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's orders denying relief on his 42 U.S.C. § 1983 (1994) complaint and on his motion for reconsideration.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Evans v. Godwin, No. CA-96-138-7-F (E.D.N.C. Oct. 21, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    